          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                       CRIMINAL NO. 1:06CR251-7


UNITED STATES OF AMERICA                  )
                                          )
                                          )
                 VS.                      )         ORDER
                                          )
                                          )
CHADDUS A. FLEMING                        )
                                          )


     THIS MATTER is before the Court on Defendant's motion for

authorization for payment of paralegal fees due to the amount of extensive

discovery to be reviewed in this case.1

     For cause shown,

     IT IS, THEREFORE, ORDERED that the motion is ALLOWED, and

counsel may submit expenses for a paralegal not to exceed $500.

     IT IS FURTHER ORDERED that the Defendant’s motion for release

from detention is DENIED WITHOUT PREJUDICE.


     1
        Although the motion is captioned as described, the first paragraph
seeks a review of Defendant’s detention. The Court notes that a detention
hearing has been scheduled before the Magistrate Judge for February 26,
2006; therefore, the Court assumes this request was included herein by
clerical error and will be denied.


   Case 1:06-cr-00251-MR-WCM     Document 121   Filed 02/23/07   Page 1 of 2
                                2

                                Signed: February 23, 2007




Case 1:06-cr-00251-MR-WCM   Document 121    Filed 02/23/07   Page 2 of 2
